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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO


  Civil Action No. 05-cv-02467-EWN-BNB

  MOHAMMED SALEH,

                                        Plaintiff,

  FEDERAL BUREAU OF PRISONS;
  HARLEY LAPPIN, Director;
  JOHN VANYUR, Assistant Director/Programs;
  KATHLEEN KENNEY, Assistant Director/Operations;
  G. HERSHBERGER, Regional Director;
  MICHAEL NALLEY, Regional Director;
  RON WILEY, Warden;
  JOHN SHARTLE, Associate Warden;
  MARK MUNSON, Associate Warden;
  MAUREEN CRUZ, Associate Warden;
  HARVEY CHURCH, Captain;
  D.J. KRIST, Special Investigative Agent;
  “FNU” JAVERNICK, Case Management Coordinator;
  GEORGE KNOX, Correctional Counselor;
  MARK COLLINS, Unit Manager;
  T. GOMEZ, Unit Manager;
  TINA SUDLOW, Case Manager;
  “FNU” REILLEY, Chaplain;
  KEITH POWLEY, Chaplain;
  D. LAW, Chaplain’s Assistant;
  “FNU” JONES, Food Service Administrator; and
  DAVID JOHNSON, Agent/Employee, Federal Bureau of Investigation,

        in their official capacities,

                                Defendants.


                              THIRD AMENDED COMPLAINT
                       FOR INJUNCTIVE AND DECLARATORY RELIEF
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                                             Nature of the Case

     1. Plaintiff, Mohammed Saleh, who is incarcerated at the Administrative Maximum

        Security Prison (“ADX”), in Florence, Colorado, by and through his attorneys, the

        University of Denver Sturm College of Law Student Law Office, hereby submits his

        Third Amended Complaint for violations of the Fifth, Eighth and Fourteenth

        Amendments to the United States Constitution, and the Religious Freedom Restoration

        Act.

                                         Jurisdiction and Venue

     2. This Court possesses subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331,

        1343(a)(4), 2201, and 2202.

     3. Venue is proper within this district pursuant to 28 U.S.C. § 1391 as all events giving rise

        to the claims occurred in this judicial district.

                                                  Parties

     4. Plaintiff Mohammed Saleh is a federal prisoner in the custody of the United States

        Bureau of Prisons, who has been continuously confined in ADX since February 2003.

     5. Defendant Federal Bureau of Prisons (“BOP”) is an agency of the United States charged

        with the management of all Federal penal and correctional institutions, including the

        United States Penitentiary-Administrative Maximum in Florence, Colorado.

     6. Defendant Harley Lappin is the Director of the BOP, with authority over and

        responsibility for the management and direction of the BOP, including the designation

        and transfer of federal prisoners.




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     7. Defendant John Vanyur is Assistant Director of BOP Correctional Programs Division,

        with authority over and responsibility for correctional programs in the BOP, including the

        designations and transfers of federal prisoners to and from ADX and ADX correctional

        programs.

     8. Defendant Kathleen Kenney is Assistant Director of BOP Correctional Operations

        Division, with authority over and responsibility for correctional operations in the BOP,

        including the designations and transfers of federal prisoners to and from ADX and ADX

        correctional operations.

     9. Defendant G. Hershberger was, at the times relevant as stated herein, Regional Director

        for the BOP North Central Regional Office, with authority over and responsibility for the

        management and direction of all BOP facilities and institutions located within its North

        Central Region, in which the ADX is situated, including the designation and transfer of

        federal prisoners.

     10. Defendant Michael Nalley is Regional Director for the BOP North Central Regional

        Office, with authority over and responsibility for the management and direction of all

        BOP facilities and institutions located within its North Central Region, in which the ADX

        is situated, including the designation and transfer of federal prisoners.

     11. Defendant Ron Wiley is the Warden of ADX, with authority and responsibility for

        management and direction of ADX, including decisions regarding: the designation and

        transfer of prisoners to and from ADX; the extent and manner that ADX prisoners are

        permitted to exercise their religious faiths and religious accommodation; and the




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        designation of exercise facilities and the amount and type of exercise opportunities that

        prisoners receive.

     12. Defendant John Shartle was, at the times relevant as stated herein, the Associate Warden

        of Programs at ADX, with authority over and responsibility for correctional programs at

        ADX, including decisions regarding: the designation and transfer of prisoners to and

        from ADX; the extent and manner that ADX prisoners are permitted to exercise their

        religious faith and religious accommodation; and the designation of exercise facilities and

        amount and type of exercise opportunities prisoners receive.

     13. Defendant Mark Munson is an Associate Warden of ADX with authority over and

        responsibility for correctional programs at ADX, including decisions regarding: the

        designation and transfer of prisoners to and from ADX; the extent and manner that ADX

        prisoners are permitted to exercise their religious faith and religious accommodation; and

        the designation of exercise facilities and amount and type of exercise opportunities

        prisoners receive.

     14. Defendant Maureen Cruz is Associate Warden of Operations of the BOP Federal

        Correctional Complex in Florence, Colorado, which includes ADX, with authority over

        and responsibility for correctional programs at ADX, including decisions regarding: the

        designation and transfer of prisoners to and from ADX; the extent and manner that ADX

        prisoners are permitted to exercise their religious faith and religious accommodation; and

        the designation of exercise facilities and amount and type of exercise opportunities

        prisoners receive.




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     15. Defendant Mark Collins is a Unit Manager at ADX, with authority over and

        responsibility for the management and direction of prisoner housing units at ADX,

        including decisions regarding: the designations and transfers of prisoners to and from

        ADX; the extent and manner that ADX prisoners are permitted to exercise their religious

        faiths and religious accommodations; and the designation of exercise facilities and the

        amount and type of exercise opportunities that ADX prisoners receive.

     16. Defendant T. Gomez is a Unit Manager at ADX with authority over and responsibility for

        the management and direction of prisoner housing units at ADX, including decisions

        regarding: the designations and transfers of prisoners to and from ADX; the extent and

        manner that ADX prisoners are permitted to exercise their religious faiths and religious

        accommodations; and the designation of exercise facilities and the amount and type of

        exercise opportunities that ADX prisoners receive.

     17. Defendant “FNU” Reilley is the Chaplain at ADX, responsible for managing the

        Religious Services Department at ADX, including all matters relating to the

        accommodation of prisoners’ religious needs and activities.

     18. Defendant Keith Powley was, at all relevant times stated herein, the Chaplain at ADX.

     19. Defendant D. Law is the Chaplain’s Assistant at ADX, responsible for assisting the

        Chaplain in performance of official duties and with the administration and management

        of the Religious Services Department, including accommodation of the religious needs

        and activities of prisoners.

     20. Defendant Harvey Church is a Captain at ADX, responsible for correctional operations

        and security, including participating in decisions regarding: the designation and transfer



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        of prisoners to and from ADX; the extent and manner that ADX prisoners are permitted

        to exercise their religious faiths and approval of religious accommodations; and the

        designation of exercise facilities and the amount and type of exercise opportunities that

        ADX prisoners receive.

     21. Defendant D.J. Krist is a Special Investigative Agent of ADX, with authority over and

        responsibility for the management and direction of the Special Investigative Services at

        ADX, including participating in decisions regarding: the designation and transfer of

        prisoners to and from ADX; the extent and manner that ADX prisoners are permitted to

        exercise their religious faiths and approval of religious accommodations; and the

        designation of exercise facilities and the amount and type of exercise opportunities that

        ADX prisoners receive.

     22. Defendant “FNU” Javernick is the Case Management Coordinator at ADX, responsible

        for case management coordination at ADX, including participating in decisions

        regarding: the designation and transfer of prisoners to and from ADX; the extent and

        manner that ADX prisoners are permitted to exercise their religious faiths and approval

        of religious accommodations; and the designation of exercise facilities and the amount

        and type of exercise opportunities that ADX prisoners receive.

     23. Defendant George Knox is a Correctional Counselor assigned to D-Unit of ADX,

        responsible for correctional counseling at ADX, including participating in decisions

        regarding: the designation and transfer of prisoners to and from ADX; the extent and

        manner that ADX prisoners are permitted to exercise their religious faiths and approval




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        of religious accommodations; and the designation of exercise facilities and the amount

        and type of exercise opportunities that ADX prisoners receive.

     24. Defendant Tina Sudlow is a Case Manager assigned to D-Unit of ADX, responsible for

        prisoner case management at ADX, including participation in decisions regarding: the

        designation and transfer of prisoners to and from ADX; the extent and manner that ADX

        prisoners are permitted to exercise their religious faiths and approval of religious

        accommodations; and the designation of exercise facilities and the amount and type of

        exercise opportunities that ADX prisoners receive.

     25. Defendant “FNU” Jones is the Food Serve Administrator at ADX, responsible for

        administration and management of the ADX Food Services Department, including the

        procurement and provision of nutritionally adequate and religiously appropriate foods

        that meet the dietary needs of prisoners.

     26. Defendant David Johnson is an employee of the Federal Bureau of Investigation, an

        agency of the United States, who is assigned to ADX and is responsible for advising and

        coordinating and cooperating with ADX Special Investigative Services staff, including

        participating in decisions regarding: the designation and transfer of prisoners to and from

        ADX; and the extent and manner that ADX prisoners are permitted to exercise their

        religious faiths and religious accommodation, including which religious texts and videos

        are available to prisoners.

                                             General Facts

     27. Plaintiff Saleh is incarcerated in the U.S. Penitentiary - Administrative Maximum (ADX)

        in Florence, Colorado. ADX is the only “supermax” prison in the BOP, and is the most



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        secure prison in the federal system. Supermax facilities, such as ADX, are

        supermaximum-security prisons with highly restrictive conditions, designed to segregate

        the most dangerous prisoners from the general population. Some supermax facilities,

        such as ADX, operate or internalize a behavior modification program.

     28. According to BOP Program Statement P5100.08, ADX is designed for male inmates who

        have demonstrated an inability to function in a less restrictive environment without being

        a threat to others or to the secure and orderly operation of the institution. Additionally,

        ADX is only supposed to be used for those inmates with severe or chronic behavior

        problems that cannot be addressed in any other Bureau institution.

     29. The main mission of the ADX is to affect inmate behavior such that inmates who

        demonstrate non-dangerous behavior and participate in required programs progress to

        another, more open BOP facility.

     30. The ADX is comprised of nine separate housing units, each of which is further

        subdivided into “sides” or ranges. The nine units are designated as Beta (“B-Unit”),

        Delta (“D-Unit”), Echo (“E-Unit”), Foxtrot (“F-Unit”), Golf (“G-Unit), Hotel (“H-Unit”),

        Joker (“J-Unit”), Kilo (“K-Unit), and Zulu (“Z-Unit”). Each unit houses approximately

        64 prisoners in individual, single-occupancy cells.

     31. B-Unit is the Bureau’s “Control Unit.” Federal regulations exist governing the Control

        Unit and provide for notice, hearing, and other procedures to prisoners before they may

        be placed in B-Unit. Those procedures are codified and published at 28 C.F.R. § 541.40

        et seq. Those procedures do not apply and have not been extended to placement

        decisions in any other unit at ADX.



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     32. Until February of 2006, the D-Unit was considered a High Security Unit. The conditions

        on the D-Unit were similar to those of the Control Unit.

     33. D-, E-, F-, and G-Units have been designated and referred to by ADX local policy as

        “General Population Units.” Despite the nomenclature, however, these are not actual

        general population units. Instead, the prisoners housed in these units are in solitary

        confinement no less and remain locked in their individual cells, alone, more than 23

        hours per day on average and are not permitted any physical interaction with other

        inmates. There is no general population prison at ADX, and it is not an open-population

        institution.

     34. J-Unit has been designated as the “Intermediate Unit,” one of two “Step-Down Units” at

        ADX, which houses prisoners in the first phase of the ADX “Step-Down Unit Program.”

     35. K-Unit has been designated as the “Transitional Unit,” the second “Step-Down Unit” at

        ADX, which houses prisoners in the second phase of the ADX “Step-Down Unit

        Program.”

     36. A stratified system of housing inmates is used to provide inmates with incentives to

        adhere to the standards of conduct associated with a maximum security custody program.

        As inmates at the ADX demonstrate periods of clear conduct and positive institution

        adjustment, they may progress from the “General Population” units to the Intermediate

        and Transitional Units. Those successful in the Transitional Unit will move out to the

        United States Penitentiary, High Security, Florence, Colorado, where the Pre-Transfer

        phase of the Step-Down Program is housed. It will take a prisoner a minimum of 36

        months to work his way through the layered system of housing. The minimum stay in the



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         “General Population” units is 12 months, the Intermediate Program 12 months, and

         Transitional Program 12 months, and the Pre-Transfer Unit 12 months.

      37. An inmate at ADX who is in any phase of the Step-Down Unit Program may be

         terminated from that program and returned to a “General Population” unit if he receives

         even a single disciplinary violation.

      38. With the exception of prisoners transferred to and placed in the B-Unit of ADX, prisoners

         transferred to and placed in ADX are not afforded any form of notice, hearing or fair

         opportunity for rebuttal in connection with the decision to place a prisoner in ADX,

         resulting in arbitrary, haphazard, discriminatory and erroneous placement decisions.

      39. From July 2005 to April 2007, Plaintiff was incarcerated on the D-Unit at ADX. On

         April 10, 2007, Plaintiff was approved for placement in the Step-Down Unit program,

         and was moved to J-Unit on April 17, 2007.

      40. While on the D-Unit of ADX, the conditions of Plaintiff’s confinement were more

         restrictive than any other form of incarceration in the BOP. At ADX, almost every aspect

         of plaintiff’s life is controlled and monitored. Plaintiff ordinarily was required to remain

         in his cell 24 hours per day, except on those rare occasions that he was permitted out-of-

         cell exercise. His solitary, box-car cell only provided approximately 12’ x 6.5’ of floor

         space. Plaintiff was not permitted to experience direct sunlight and the artificial light in

         his cell provided only florescent lighting.

      41. In the J-Unit, Mr. Saleh is confined to his cell for at least 22.5 hours per day. His

         solitary, box-car cell only provides approximately 12’ x 5.25’ of floor space. Plaintiff is




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         not permitted to experience direct sunlight and the artificial light in his cell provides only

         florescent lighting.

      42. On the J-Unit, Plaintiff must take his meals alone in his cell instead of the cafeteria.

         Defendants limit Plaintiff’s contact with the outside world to three 15-minute telephone

         calls per month with an immediate family member and five brief non-contact social visits

         a month, which are restricted to immediate family members and must be conducted

         through a glass wall. All programs and privileges ordinarily available throughout the

         BOP are either nonexistent or severely restricted and limited at ADX.

      43. Confinement at ADX is synonymous with extreme isolation. The cells in ADX have solid

         metal doors with metal strips and/or bristles along the bottoms which help to prevent

         conversation and unauthorized communication with other inmates. Plaintiff is deprived

         of almost any meaningful environmental or sensory stimuli and of virtually all human

         contact, except for when he is permitted exercise, which he is allowed to do in a group of

         seven other prisoners or less.

      44. Defendants also prevent Plaintiff from engaging in practices essential to fulfilling his

         religious beliefs.

      Facts for Claim 1: Deprivation of Mr. Saleh’s Fifth Amendment Right to Due Process for
      Transfer to and Placement in ADX.

      45. The conditions at ADX are more restrictive than any other form of incarceration within

         the Bureau of Prisons system. By placing Plaintiff in ADX, Defendants severely deprive

         Mr. Saleh of a liberty interest, as the conditions at ADX are much harsher than the

         conditions in the facilities that previously incarcerated him.




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      46. Mr. Saleh was originally incarcerated in the United States Penitentiary in Leavenworth,

         Kansas, from March 1996 to August 2001. At USP-Leavenworth, he was held in a

         general population unit where he was able to have both indoor and outdoor group

         exercise, time out of his cell to interact with other prisoners, and employment.

      47. In 2001, Mr. Saleh was moved to the United States Penitentiary in Florence, Colorado.

         There, he was confined in a general population unit where he was allowed indoor and

         outdoor group exercise and group meals. Mr. Saleh was given unrestricted library use,

         including access to religious books. He could participate in congregate religious services.

         He had constant human contact, direct access to sunlight and natural light, 300 minutes of

         telephone time a month, greater mail access than what ADX affords him, employment

         opportunities and the opportunity for several social visits a month.

      48. On the morning of September 11, 2001, BOP officials arbitrarily placed Mr. Saleh in the

         Special Housing Unit (“SHU”) at USP-Florence, despite the fact that he had no

         knowledge of or involvement in the events that took place that day. He was held in the

         SHU until 2003, when the BOP transferred him to even harsher conditions at ADX.

      49. The ADX program is a mandatory behavior modification program. Prisoners placed in

         ADX suffer the permanently severe and traumatic stigmatizing consequence of being

         branded the “worst of the worst” and as suffering from “chronic behavioral problems.”

         ADX placement therefore engenders severe adverse social consequences to Plaintiff far

         beyond that typically associated with incarceration. The consequences of involuntary

         ADX placement and attendant restrictions visited upon Plaintiff are qualitatively different

         from the punishment characteristically suffered by one convicted of a federal offense, and



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         such confinement is well outside the ordinary range of conditions and degree of

         confinement to which a prison sentence typically subjects an individual.

      50. ADX confinement, and Mr. Saleh’s transfer to and placement in ADX, imposes an

         atypical and significant hardship in relation to the ordinary incidents of prison life, and

         has worked and continues to work a major disruption and change in his environment

         amounting to a grievous loss.

      51. Mr. Saleh possessed and possesses a protected liberty interest in avoiding transfer to and

         placement in ADX and ADX supermax confinement. His interest in avoiding arbitrary,

         haphazard, discriminatory and erroneous placement in ADX is significant.

      52. The BOP transferred Mr. Saleh, a Middle-Eastern Muslim, to ADX following the events

         of September 11, 2001, based on ethnic stereotypes, unfounded fears, and irrational

         speculation, and otherwise without justification, cause or excuse. Mr. Saleh’s transfer to

         and placement in ADX was arbitrary, haphazard, discriminatory and erroneous. He does

         not meet any of the objective criteria for ADX placement and his presence in the open

         population prison did not otherwise pose any exceptional and valid high-security risks.

      53. Prior to placement in ADX, Mr. Saleh was not given notice of the factual basis for his

         transfer and placement or an opportunity to rebut it. The lack of such procedural

         safeguards led to his arbitrary, haphazard, discriminatory and otherwise erroneous

         transfer to and placement in ADX.

      54. If a policy exists that allows prisoners to grieve their placement in ADX, Mr. Saleh was

         not told of such a policy. A policy was not relayed to him orally, nor was a policy

         included in a packet of materials provided during the Admission and Orientation Program



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         that informs new prisoners of the rules, regulations, and policies of ADX. Accordingly,

         Mr. Saleh was unable to challenge his placement in ADX.

      55. Procedures used to assign inmates to ADX are lacking, inconsistent, and undefined,

         resulting in the arbitrary, haphazard, discriminatory and erroneous placement of

         prisoners, including Mr. Saleh.

      56. Had Mr. Saleh been provided with adequate notice of any alleged factual basis leading to

         his consideration for ADX placement and a fair hearing or opportunity for rebuttal, such

         as the procedures already in place but extended only to the ADX Control Unit (B-Unit),

         placement decisions, codified at 28 C.F.R. § 541.40 et seq., he in all likelihood and

         probability would not have been arbitrarily, haphazardly, discriminately, and erroneously

         placed in ADX. The conditions, treatment and restrictions of D-Unit are substantially

         similar to those of B-Unit.

      57. Extending the current and existing notice and hearing procedures codified at 28 C.F.R. §

         541.40 et seq., to Mr. Saleh and to all ADX placement decisions would have significant

         probative value in helping to eliminate and significantly reduce arbitrary, haphazard,

         discriminatory and erroneous ADX placement decisions, such as those visited upon

         Plaintiff. Since those procedures have been and are already in place at ADX for B-Unit

         placement decisions, extending those existing procedures to the remainder of ADX

         placement decisions would have a de minimis, if any, negative impact on legitimate

         government interests. Rather, procedures to avoid arbitrary and erroneous ADX

         placement decisions benefits legitimate governmental interests since the costs of ADX

         confinement per prisoner is more than triple that of open-population prison housing.



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      58. Defendants Lappin, Vanyur, Kenney, Hershberger/Nalley were aware of and involved in

          the decision to transfer and place Plaintiff in ADX. These defendants possess authority

          to direct transfers of prisoners to and from ADX. The BOP’s Program Statement

          P5100.08 states that a prisoner should be considered for placement at another high

          security institution before being designated to ADX, and it is the job of the Regional

          Director of the North Central Region to decide if an inmate’s placement in ADX is

          appropriate.

      59. Mr. Saleh continues to be confined in ADX indefinitely.

   Facts for Claim 2: Deprivation of Exercise in Violation of the Eighth Amendment

      60. In the J-Unit, where Mr. Saleh is currently housed, prisoners have not been permitted any

          outdoor exercise from September 2006 to May 1, 2007. Since May 1, 2007, prisoners on

          the J-Unit have been permitted outdoor exercise two times per week, at most.

      61. Due to the lack of outdoor exercise, Mr. Saleh has not been and is not permitted any

          access to direct sunlight or fresh air.

      62. Outdoor exercise is a basic human need, and is extremely important to the psychological

          and physical well-being of Mr. Saleh.

      63. In addition, Defendants Wiley, Cruz, Javernick, Shartle/Munson, Church and Gomez

          discourage Mr. Saleh from taking advantage of the limited opportunities he receives for

          out-of-cell exercise in a variety of ways. Mr. Saleh is required to undergo an invasive

          and embarrassing strip search as a precondition to any out-of-cell exercise. During out-

          of-cell exercise, Mr. Saleh is routinely harassed with shakedowns of his cell that often

          result in the temporary confiscation of some of the few personal items he is permitted,



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          and leaves his cell and legal papers in disarray. Only prisoners who opt to forego their

          exercise periods are rewarded with exemptions from these strip searches and

          shakedowns.

      64. Defendants Wiley, Cruz, Javernick, Shartle/Munson, Church and Gomez are aware of the

          J-Unit out-of-cell exercise regime described above, including the insufficient

          opportunities for adequate and meaningful exercise, including outdoor exercise, and the

          substantial risks of serious harm this poses to Mr. Saleh’s physical and mental health,

          safety and well-being by continuing to subject him to an unconstitutional exercise

          regime, and they have failed to take corrective action despite that knowledge of

          substantial risks of serious harm.

   Facts for Claim 3, 4, 5 and 6: Restrictions on Mr. Saleh in Violation of the Religious Freedom
   Restoration Act (RFRA), the Free Exercise Clause of the First Amendment and the Equal
   Protection Clause of the Fourteenth Amendment.

      65. BOP Program Statement P5360.09 states that all federal prisons “provide inmates of all

          faith groups with reasonable and equitable opportunities to pursue religious beliefs and

          practices.”

      66. Despite this policy, Mr. Saleh has been deprived of the opportunity to practice his

          religious beliefs.

      67. Mr. Saleh is a practitioner of Islam and his religious beliefs are sincerely held.

      68. In exercise of his sincerely held religious beliefs, Mr. Saleh is required to pray at least

          five times per day at prescribed times. Plaintiff subscribes to the practice of Azan, also

          known as the “call to prayer.” Azan is a prayer chanted by at least one practitioner of




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         Islam within hearing distance of other Muslims immediately preceding each of the five

         prescribed daily prayers.

      69. Azan is an exercise of and compelled by Plaintiff’s sincerely held religious beliefs. Mr.

         Saleh sincerely believes that the practice of Azan is fundamental to his religion and

         religious exercise.

      70. Mr. Saleh is not afforded adequate opportunities to hear the prayer of Azan. Defendants

         Wiley, Cruz, Shartle/Munson, Gomez, Collins, Knox, Church, Sudlow, Powley, Law,

         Johnson and Reilley have and continue to substantially burden Plaintiff’s exercise of

         religion, his religious exercise of Azan, by banning and limiting the performance of

         Azan. Defendants have reprimanded Muslim prisoners for reciting Azan and continue to

         threaten them with disciplinary action for performing the prayer in conformance with

         their sincerely held beliefs.

      71. On the J-Unit, Mr. Saleh and other Muslim prisoners are prohibited from performing the

         prayer of Azan at all. Corrections officers threaten prisoners on J-Unit with incident

         reports if they perform the prayer of Azan, which could lead to termination of the

         prisoner’s continued eligibility for and placement in the Step-Down Unit Program.

      72. Previously, when Mr. Saleh was housed in the D-Unit, Defendant Sudlow prohibited the

         prayer of Azan altogether for a period of time.

      73. The burdens on Plaintiff’s religious exercise described above fail to further a compelling

         government interest or otherwise are not the least restrictive means of furthering a

         compelling government interest.




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      74. To exercise his sincerely held religious beliefs, Mr. Saleh requires frequent, regular and

         consistent access to an Imam, a Muslim religious leader, and to be able to communicate

         and consult with the Imam privately.

      75. Frequent, regular and consistent access to an Imam for private communications and

         consultation is necessary to the exercise of and compelled by Mr. Saleh’s sincerely held

         religious beliefs. Mr. Saleh sincerely believes that such private communications and

         consultations with an Imam are fundamental and necessary to his religion and religious

         exercise. Because personal and private spiritual and religious issues necessitating

         consultation with an Imam arise on an unpredictable and frequent basis, and Islam

         prohibits the discussion of certain personal and spiritual matters with or in the presence of

         others, including non-Muslims, the unavailability of an Imam with whom to confer and

         consult privately on a frequent basis substantially burdens Mr. Saleh’s religious exercise.

      76. Mr. Saleh does not have adequate access to an Imam. An Imam is brought into the prison

         approximately two to three times a year. In contrast, the ADX provides frequent, regular

         and consistent access to religious leaders for private consultation to prisoner faith groups

         other than Islam. For example, there is a chaplain constantly on site and available for

         similarly situated Catholic and Christian prisoners at ADX. The ADX also contracts with

         a Native American “medicine man,” and a Rabbi is contracted to visit monthly with the

         Jewish prisoners.

      77. On the rare occasions that an Imam is made available, however, Mr. Saleh has been

         required to leave his cell in order to speak with the Imam instead of the Imam coming to

         his cell. Additionally, Mr. Saleh has been required to remain in full restraints, including



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         handcuffs, leg shackles, and a black box and Martin chain when removed from his cell to

         speak with an Imam. Prisoners of other religious faiths at ADX are not required to

         consult with religious leaders outside of their cells in handcuffs and restraints.

      78. On the rare occasions that an Imam is available, Mr. Saleh cannot have a private religious

         consultation with him. A Muslim’s ability to have a private spiritual consultation with

         his Imam is an essential tenet of Islam. Plaintiff’s visits with an Imam are always

         observed and subjected to visual and auditory monitoring by ADX Special Investigative

         Services (SIS) staff, the Chaplain and/or Chaplain’s Assistant, and Defendant Johnson, an

         FBI agent. Prisoners of other religious faiths in the ADX are permitted private

         conversations with their religious leaders.

      79. The failure to provide Mr. Saleh with frequent, regular and consistent access to an Imam

         for private consultation substantially burdens his exercise of religion.

      80. The burdens on Plaintiff’s religious exercise as described above fail to further a

         compelling governmental interest or otherwise are not the least restrictive means of

         furthering a compelling governmental interest.

      81. In exercise of his sincerely held religious beliefs, Mr. Saleh is required to maintain a

         Halal diet, a diet consisting of foods authorized and prepared as prescribed by Muslim

         law.

      82. Maintaining a strictly Halal diet is an exercise of and compelled by Mr. Saleh’s sincerely

         held religious belief. Mr. Saleh sincerely believes that maintaining a strictly Halal diet is

         fundamental to his religion and religious exercise.




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      83. Mr. Saleh does not receive a Halal diet, which is a central tenet of Plaintiff’s faith.

         Similarly situated prisoners of other religious faiths at ADX are given diets that are

         religiously acceptable in accordance with their faith.

      84. Defendants Federal Bureau of Prisons, Vanyur, Wiley, Cruz, Javernick, Shartle/Munson,

         Church, Sudlow, Reilley, Powley, Law and Jones only afford Muslim prisoners such as

         Plaintiff a kosher diet or a “no pork” diet, neither of which conforms what is required by

         the Islamic faith. There are significant differences between a Halal diet and the diets

         offered Plaintiff at ADX: an Islamic prayer is not recited while slaughtering animals for

         meat; the offered meals are often cooked with gelatin and wine, which is prohibited under

         Islam; moreover, animal fat is often used in the offered meals, which is also forbidden by

         Islam. Eating the kosher meal and the no pork meal contravenes Islamic traditions and is

         considered sacrilegious by Muslims.

      85. Halal items are not available for purchase in the commissary. In contrast, kosher items

         are available for similarly-situated Jewish prisoners.

      86. Defendants Federal Bureau of Prisons, Vanyur, Wiley, Cruz, Javernick, Shartle/Munson,

         Reilley, Powley, Sudlow, Law and Jones substantially burden Mr. Saleh’s exercise of

         religion by refusing to provide him with a nutritionally adequate and religiously

         acceptable Halal diet.

      87. The burdens on Mr. Saleh’s religious exercise described above fail to further a

         compelling governmental interest or otherwise are not the least restrictive means of

         further a compelling governmental interest.




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      88. In exercise of his sincerely held religious beliefs, Mr. Saleh is required to consult

         religious texts as prescribed by the Q’uran.

      89. Mr. Saleh has been denied access to religious texts. All Arabic and all Muslim books

         have been purged from the Chaplain’s library, the leisure library, and the law library by

         Defendant Johnson. Besides the Q’uran, there are six main books in the Sunni Muslim

         religion that are central tenets to the religion. These books are collectively called the

         “Hadith.” The Hadith includes the books of the Sahih Bukhair, the Sahih Muslim, the

         Sunan al-Sughra, the Sunan Abi Da’ud, the Sunan al-Tirmidhi, and the Ibn Maja. These

         books are essential to interpreting Islam.

      90. Similarly situated prisoners of other religious faiths have access to religious texts that are

         central to their religions.

      91. Defendants Federal Bureau of Prisons, Vanyur, Wiley, Cruz, Javernick, Shartle/Munson,

         Church, Sudlow, Powley, Law, and Reilley substantially burden Mr. Saleh’s exercise of

         religion by refusing to provide him access to central religious texts such as the Hadith.

      92. The burdens on Mr. Saleh’s religious exercise described above fail to further a

         compelling governmental interest or otherwise are not the least restrictive means of

         further a compelling governmental interest.

      93. In exercise of his sincerely held religious belief, Mr. Saleh is required to assemble

         together with other Muslims in performance of Jumu’ah, the mandatory congregate

         Muslim prayer, each Friday of every week.




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      94. Jumu’ah is an exercise of and compelled by Plaintiff’s sincerely held religious beliefs.

         Mr. Saleh sincerely believes that the practice of Jumu’ah is fundamental to his religion

         and religious exercise. Jumu’ah is among the most important tenets of Islam.

      95. Defendants Federal Bureau of Prisons, Vanyur, Wiley, Cruz, Javernick, Shartle/Munson,

         Gomez, Collins, Knox, Church, Sudlow, Powley, Law, Reilley and Johnson have and

         continue to substantially burden Mr. Saleh’s exercise of religion, his exercise of Jumu’ah,

         by banning and forbidding Mr. Saleh from performing Jumu'ah, the mandatory

         congregate Muslim prayer in conformance with his sincerely held religious beliefs.

      96. The burdens on Mr. Saleh’s religious exercise described above fail to further a

         compelling government interest or otherwise are not the least restrictive means of

         furthering a compelling government interest.

      97. Defendants have refused to allow Mr. Saleh to finish his Master’s Degree in Religious

         Studies from American Open University in Virginia Mr. Saleh began pursuing his degree

         while he was housed in USP-Leavenworth via correspondence. Although Mr. Saleh is

         only approximately ten credits away from earning his degree, Defendants have told him

         that continued participation in the program was prohibited because the correspondence is

         in Arabic.

      98. The denial of these religious freedoms, both individually and combined, result in illegal

         burdens on Plaintiff’s religious rights.




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                                                  Claims

      CLAIM 1: Defendants Violated Mr. Saleh’s Fifth Amendment Rights to Due Process When
      Mr. Saleh Was Transferred to and Placed in ADX.

      99. Under the Fifth Amendment of the United States Constitution, Mr. Saleh may not be

         deprived of liberty without due process of law.

      100. Mr. Saleh’s conditions of confinement at ADX constitute a significant and atypical

         hardship, and are vastly harsher than the conditions of his previous placements and the

         ordinary incidents of prison life.

      101. Mr. Saleh’s placement in ADX implicates a liberty interest.

      102. Defendants denied Mr. Saleh his Fifth Amendment right to due process when he was

         transferred to and placed in ADX without affording him meaningful notice of the reasons

         for his transfer and a hearing or other fair opportunity for rebuttal, and by arbitrarily,

         haphazardly, discriminately and erroneously placing him in ADX.

   CLAIM 2: Defendants Have Subjected Plaintiff to Cruel and Unusual Punishment in Violation
   of the Eighth Amendment by Denying Him Adequate Opportunity for Exercise

      103. By consistently depriving Mr. Saleh to regular access to sunlight and fresh air,

         Defendants have deprived Mr. Saleh of the minimal civilized measure of life necessities

         and exposed him to serious physical and mental harm.

      104. By subjecting Mr. Saleh to such conditions, with full knowledge of the dangers that

         such conditions pose to his health, Defendants have acted, and will continue to act with

         deliberate indifference to the serious health needs of Mr. Saleh, and have subjected him

         to cruel and unusual punishment in violation of the Eighth Amendment.




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   CLAIM 3: Defendants Violated Plaintiff’s Right to Practice His Religion Under RFRA, 42
   U.S.C. § 2000(b)(b), et seq.
   .
      105. Mr. Saleh has a sincerely held belief in the religion of Islam.

      106. Defendants have substantially burdened the exercise of Mr. Saleh’s religion.

      107. Defendants’ restriction on Mr. Saleh’s right to perform the prayer of Azan in his cell

          does not further a compelling governmental interest.

      108. Prohibiting Mr. Saleh from performing the prayer of Azan is not the least restrictive

          means of furthering any compelling governmental interest.

      109. Defendants’ refusals to provide Mr. Saleh with meals that conform to a Halal diet does

          not further a compelling governmental interest.

      110. Denying Mr. Saleh Halal meals is not the least restrictive means of furthering any

          compelling governmental interest.

      111. Defendants’ refusal to provide Mr. Saleh with religious texts does not further a

          compelling governmental interest.

      112. Denying Mr. Saleh religious texts is not the least restrictive means of furthering any

          compelling governmental interest.

      113. Defendants’ refusal to provide Mr. Saleh with consistent or meaningful access to an

          Imam does not further a compelling governmental interest.

      114. Denying Mr. Saleh consistent and meaningful access to an Imam is not the least

          restrictive means of furthering any compelling governmental interest.

      115. Defendants’ restrictions on Mr. Saleh’s right to perform the congregate prayer of

          Jumu’ah does not further a compelling governmental interest.




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      116. Prohibiting Mr. Saleh from performing the congregate prayer of Jumu’ah is not the

         least restrictive means of furthering any compelling governmental interest.

      117. Defendants’ prohibition of Mr. Saleh’s correspondence study for his Master’s Degree

         in Religious Studies from American Open University does not further a compelling

         governmental interest.

      118. Defendants’ refusal to allow Mr. Saleh to continue his correspondence course and

         complete his Master’s Degree in Religious Studies from American Open University is not

         the least restrictive means of furthering any compelling governmental interest.


      CLAIM 4: Religious Restrictions on Mr. Saleh in Violation of the Free Exercise Clause of
      the First Amendment.

      119. Mr. Saleh has a sincerely held belief in the religion of Islam.

      120. The First Amendment protects the rights of all persons to freely exercise their religious

         beliefs. It protects the right of Muslim prisoners to perform the prayer of Azan, also

         known as the “call to prayer.” Accordingly, the First Amendment protects the right of

         Mr. Saleh to perform the prayer of Azan.

      121. Defendants’ denial of the right of prisoners at ADX to perform the prayer of Azan has

         no reasonable relationship to any penological interests.

      122. By denying Mr. Saleh the right to perform the prayer of Azan, Defendants have

         unjustifiably infringed on Mr. Saleh’s right to the free exercise of religion, in violation of

         the First Amendment.




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      123. The First Amendment protects the right of Muslim prisoners to have regular and

         confidential access to an Islamic religious leader, known as an Imam. Accordingly, the

         First Amendment protects the right of Mr. Saleh to have access to an Imam.

      124. Defendants’ practice of denying Plaintiff the right to regular and confidential access to

         an Imam has no reasonable relationship to any penological interests.

      125. By denying prisoners the right to regular and confidential access to an Imam,

         Defendants have unjustifiably infringed on Mr. Saleh’s right to the free exercise of

         religion, in violation of the First Amendment.

      126. The First Amendment protects the right of Muslim prisoners to have a Halal diet, as

         dictated in the Q’uran. Accordingly, the First Amendment protects the right of Mr. Saleh

         to have a Halal diet.

      127. The policy and practice of Defendants of denying Muslim prisoners access to a Halal

         diet has no reasonable relationship to any penological interests.

      128. By denying prisoners the right to a Halal diet, Defendants have unjustifiably infringed

         on Mr. Saleh’s right to the free exercise of religion in violation of the First Amendment.

      129.   The First Amendment protects the right of Muslim prisoners to have access to books

         vital to the practice of their religion, such as the Hadith. Accordingly, the First

         Amendment protects the right of Mr. Saleh to have access to religious books, such as the

         Hadith.

      130. Defendants’ policy and practice of denying Plaintiff the right to religious books such as

         the Hadith has no reasonable relationship to any penological interests.




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      131. By denying prisoners the right to religious books, such as the Hadith, Defendants have

         unjustifiably infringed on Mr. Saleh’s right to the free exercise of religion, in violation of

         the First Amendment.

      132. The First Amendment protects the right of prisoners to perform the congregate prayer

         of Jumu’ah. Accordingly, the First Amendment protects the right of Mr. Saleh to

         perform the congregate prayer of Jumu’ah.

      133. Defendants’ policy and practice of denying prisoners the right to perform the

         congregate prayer of Jumu’ah has no reasonable relationship to any penological interests.

      134. By denying prisoners the right to perform the congregate prayer of Jumu’ah,

         Defendants have unjustifiably infringed on Mr. Saleh’s right to the free exercise of

         religion, in violation of the First Amendment.


      CLAIM 5: Violation of Mr. Saleh’s Right to Equal Protection On the Basis of Religion
      Under the Fourteenth Amendment.

      135. Defendants have denied Mr. Saleh the ability to perform the prayer of Azan, also

         known as the call to prayer.

      136. Similarly situated prisoners of other religious faiths in ADX are allowed to perform

         prayers important to their faith.

      137. Mr. Saleh has been denied regular and confidential access to an Islamic religious

         leader, known as an Imam.

      138. Similarly situated prisoners of other religious faiths in ADX are allowed regular and

         confidential access to religious leaders in accordance with their faith.

      139. Mr. Saleh has been denied access to an Islamic Halal diet.



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      140. Similarly situated prisoners of other religious faiths in ADX are given diets that accord

         with their religious faiths.

      141. Mr. Saleh has been denied access to books vital to practicing his faith, such as the

         Hadith.

      142. Similarly situated prisoners of other religious faiths in ADX are given access to books

         vital to their religious faiths.

      143. The restrictions placed on Mr. Saleh regarding his religion are far more burdensome

         than the restrictions placed on prisoners of other faiths.

      144. Defendants have intentionally discriminated against Mr. Saleh because of his belief in

         and adherence to the Islamic faith.

      145. The difference in treatment of Mr. Saleh as a Muslim prisoner and prisoners of other

         faiths is not reasonably related to any penological interest.


      CLAIM 6: Violation of Mr. Saleh’s Right to Equal Protection On the Basis of National
      Origin Under the Fourteenth Amendment.

      146. Plaintiff Saleh is a citizen of Jordan. His first language is Arabic.

      147. Defendants have refused to permit Mr. Saleh to finish his correspondence study with

         American Open University in Arabic, which is necessary for him to complete his

         Master’s Degree in Religious Studies from that institution.

      148. Similarly situated prisoners of other national origins in ADX are permitted to

         correspond in their native languages/the language of their national origin.

      149. Defendants have intentionally discriminated against Mr. Saleh because of his national

         origin.



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      150. The difference in treatment does not further a compelling governmental interest.

      151. The difference in treatment is not the least restrictive means of furthering a compelling

         governmental interest.

                                            Prayer for Relief

      Wherefore, Plaintiff requests the following relief:

             a. Mr. Saleh is entitled to a declaratory judgment that Defendants have deprived him

                 of his protected liberty interest in freedom from the ADX supermax/solitary

                 confinement regime without due process of law by arbitrarily, haphazardly,

                 discriminately, and erroneously transferring him to and placing him in ADX

                 without adequate notice of reasons and a hearing or other fair opportunity for

                 rebuttal before an impartial decisionmaking body. Mr. Saleh requests a

                 permanent injunction enjoining Defendants from enforcing their policies and

                 practices that led to Plaintiff’s arbitrary, haphazard, discriminatory and erroneous

                 ADX placement, and directing Defendants to promulgate and implement rules

                 and regulations that provide inmates with adequate notice of reasons for ADX

                 placement consideration, a hearing that includes at a minimum, a fair opportunity

                 for rebuttal to an unbiased decision-making body before or within a reasonable

                 time following an ADX placement decision. Further, Mr. Saleh requests that

                 Defendants provide him a fair hearing before an unbiased decision-making body

                 concerning his placement in ADX.

             b. Mr. Saleh is entitled to a declaratory judgment that Defendants’ failure to provide

                 him with adequate, consistent and meaningful opportunity for outdoor exercise



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               constitutes cruel and unusual punishment in violation of the Eighth Amendment.

               Plaintiff also requests a permanent injunction directing Defendants to comply

               with their own policy requiring that inmates be provided out-of-cell exercise at

               least five days each week in increments totaling at least ten hours per week

               alternating between indoor and, weather permitting, outdoor exercise periods at

               times that Plaintiff may experience direct sunlight.

            c. Mr. Saleh is entitled to a declaration that the challenged policies and practices

               denying him his right to practice his religious beliefs violate RFRA, as well as a

               permanent injunction against their enforcement.

            d. Mr. Saleh is entitled to a declaration that the challenged policies and practices

               denying Mr. Saleh his right to practice his religious beliefs violates the Free

               Exercise Clause of the First Amendment, as well as a permanent injunction

               against their enforcement.

            e. Mr. Saleh is entitled to a declaration that the challenged policies and practices

               denying Mr. Saleh his rights to practice his religious beliefs violate the Equal

               Protection Clause of the Fourteenth Amendment, as well as a permanent

               injunction against their enforcement.

            f. Mr. Saleh is entitled to a declaration that the challenged policies and practices

               prohibiting him from corresponding with American Open University in Arabic

               violates the Equal Protection Clause of the Fourteenth Amendment, as well as a

               permanent injunction against their enforcement.




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            g. Plaintiff requests the Court grant him his reasonable attorney’s fees, expenses and

               costs associated with this action.

            h. Plaintiff requests any additional or alternative relief as may be just, proper, and

               equitable.



   DATED: June 15, 2007



                                               Respectfully submitted,

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